Case 3:08-cr-00004-SI

DOCUMENTS UNDER SEAL []

Document 39 Filed 12/09/10 Page 1 of 1

TOTAL TIME (mins): 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MAGISTRATE JUDGE DEPUTY CLERK REPORTER/FTR
| MINUTE ORDER _ Frank Justiliano 10:28 - 10:30
MAGISTRATE JUDGE DATE NEW CASE CASE NUMBER
JAMES LARSON December 9, 2010 CRO8-0004 SI
APPEARANCES
DEFENDANT AGE | CUST | P/NP ATTORNEY FOR DEFENDANT PD.[_] RET.
Dana Stubblefield N P Michael Armstrong APPT. [7]
U.S. ATTORNEY INTERPRETER [_] FIN. AFFT [J] COUNSEL APPT'D
Matt Parrella None SUBMITTED
PROBATION OFFICER PRETRIAL SERVICES OFFICER DEF ELIGIBLE FOR [J] PARTIAL PAYMENT [_]
Esmerelda Gupton Amarillis Gonzalez APPT'D COUNSEL OF CJA FEES
PROCEEDINGS SCHEDULED TO OCCUR
[J] INITIAL APPEAR [[-] PRELIM HRG [(_] MOTION [] JUGM'T&SENTG |[[] STATUS
TRIAL SET
LJ] 1D. COUNSEL [-] ARRAIGNMENT |[_] BOND HEARING IAREV PROB.or |[_] OTHER
or S/R
L] DETENTIONHRG |[[-] ID/REMOVHRG J|[-] CHANGEPLEA |[] PROB. REVOC. [.] ATTY APPT
HEARING
{NITIAL APPEARANCE
Cj ADVISED L] ADVISED [] NAME AS CHARGED |[_] TRUE NAME:
OF RIGHTS OF CHARGES iS TRUE NAME
ARRAIGNMENT
[-] ARRAIGNED ON [[] ARRAIGNED ON |[[] READING WAIVED |[[]_ WAIVER OF INDICTMENT FILED
INFORMATION INDICTMENT SUBSTANCE
RELEASE
[_.] RELEASED |L] ISSUED AMT OF SECURITY | SPECIAL NOTES (-] PASSPORT
ON O/R APPEARANCE BOND | $ SURRENDERED
DATE:
PROPERTY TO BE POSTED CORPORATE security LJ REAL PROPERTY: []
[] CASH §$
(_] MOTION (LJPRETRIAL (_] DETAINED |[_JRELEASED |[[] DETENTION HEARING /|[ REMANDED
FOR SERVICES AND FORMAL FINDINGS TO CUSTODY
DETENTION REPORT WAIVED
ORDER REMOVED TO THE DISTRICT OF
PLEA
CL] CONSENT (LINOT GUILTY [-] GUILTY GUILTY TO COUNTS: L_]
ENTERED
[_] PRESENTENCE [_JCHANGE OF PLEA |[ | PLEA AGREEMENT OTHER:
REPORT ORDERED FILED
CONTINUANCE
TO: L.] ATTY APPT (_] BOND [] STATUS RE: (_] STATUS
HEARING HEARING CONSENT [TRIAL SET
AT: [-] SUBMIT FINAN. J[_] PRELIMINARY |[_] CHANGE OF LJ OTHER
AFFIDAVIT HEARING OR PLEA
ARRAIGN-
BEFORE HON. [-] DETENTION MENT [-] MOTIONS [-] JUDGMENT &
HEARING SENTENCING
[[] TIME WAIVED [] TIME EXCLUDABLE [[7] IDENTITY / PRETRIAL (_] PROB/SUP REV.
UNDER 18 § USC REMOVAL CONFERENCE HEARING
3161 HEARING

 

 

ADDITIONAL PROCEEDINGS

Parties have reached a resolution of the charges and will appear before Judge Illston today.
cc: Venice, Tracy F.

DOCUMENT NUMBER:

 

 
